                                                                                                                       Case 10-96519-mgd                           Doc 1
                                                                                                                                                                   Filed 12/06/10 Entered 12/06/10 14:25:41 Desc Main
                                                                                                          B1 (Official Form 1) (4/10)                              Document     Page 1 of 11
                                                                                                                                                    United States Bankruptcy Court                      Voluntary Petition
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Matthews, Charles Terrance                                                                         Matthews, Roberta Lynn
                                                                                                           All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                            None                                                                                               aka Robyn Matthews

                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 1326                                               (if more than one, state all):    8653
                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            5852 Allee Way                                                                                     5852 Allee Way
                                                                                                            Braselton, GA                                                        ZIPCODE
                                                                                                                                                                                                               Braselton, GA                                                        ZIPCODE
                                                                                                                                                                                    30517                                                                                             30517
                                                                                                           County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                                            Gwinnett                                                                                           Gwinnett
                                                                                                           Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):
                                                                                                            P.O. Box 511                                                                                       P.O. Box 511
                                                                                                            Braselton, GA                                                                                      Braselton, GA
                                                                                                                                                                                 ZIPCODE                                                                                            ZIPCODE
                                                                                                                                                                                    30517                                                                                             30517
                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                      (Form of Organization)                         (Check one box)                                                          the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                 Health Care Business                                       Chapter 7
                                                                                                                                                                         Single Asset Real Estate as defined in
                                                                                                                                                                                                                                                               Chapter 15 Petition for
                                                                                                              Individual (includes Joint Debtors)
                                                                                                                                                                         11 U.S.C. § 101 (51B)                                      Chapter 9                  Recognition of a Foreign
                                                                                                              See Exhibit D on page 2 of this form.
                                                                                                                                                                         Railroad                                                                              Main Proceeding
                                                                                                              Corporation (includes LLC and LLP)                                                                                    Chapter 11
                                                                                                              Partnership                                                Stockbroker                                                                           Chapter 15 Petition for
                                                                                                                                                                                                                                     Chapter 12
                                                                                                              Other (If debtor is not one of the above entities,         Commodity Broker                                                                      Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13                 Nonmain Proceeding
                                                                                                              check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                                         Other                                                                        Nature of Debts
                                                                                                                                                                                 N.A.                                                                 (Check one box)
                                                                                                                                                                                                                                    Debts are primarily consumer
                                                                                                                                                                                    Tax-Exempt Entity                               debts, defined in 11 U.S.C.                    Debts are primarily
                                                                                                                                                                                  (Check box, if applicable)                        §101(8) as "incurred by an                     business debts
                                                                                                                                                                            Debtor is a tax-exempt organization                     individual primarily for a
                                                                                                                                                                            under Title 26 of the United States                     personal, family, or household
                                                                                                                                                                            Code (the Internal Revenue Code)                        purpose."
                                                                                                                                      Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                                  Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                      Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                                         4/01/13 and every three years thereafter).
                                                                                                                                                                                                                   Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                                         more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99          100-199           200-999          1000-            5,001-            10,001-          25,001-          50,001-          Over
                                                                                                                                                                            5000             10,000            25,000           50,000           100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                                          million        million          million         million             million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                                          million        million          million         million             million
                                                                                                                  Case
                                                                                                          B1 (Official    10-96519-mgd
                                                                                                                       Form 1) (4/10)                         Doc 1         Filed 12/06/10 Entered 12/06/10 14:25:41                                               Desc Main                Page 2
                                                                                                          Voluntary Petition                                                Document     Page
                                                                                                                                                                                          Name 2
                                                                                                                                                                                               of of 11
                                                                                                                                                                                                  Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                       Charles Terrance Matthews & Roberta Lynn Matthews
                                                                                                                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                          Location                                                                              Case Number:                                          Date Filed:
                                                                                                          Where Filed:
                                                                                                                            None
                                                                                                           Location                                                                             Case Number:                                          Date Filed:
                                                                                                           Where Filed:
                                                                                                                      N.A.
                                                                                                              Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                           Name of Debtor:                                                                       Case Number:                                          Date Filed:
                                                                                                                       None
                                                                                                           District:                                                                            Relationship:                                          Judge:


                                                                                                                                          Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                            (To be completed if debtor is an individual
                                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                                  the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                          relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                                  I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).



                                                                                                                   Exhibit A is attached and made a part of this petition.                        X         /s/ C. Wingate Mims                                      December 3, 2010
                                                                                                                                                                                                        Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                                        Exhibit C
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                                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                   No


                                                                                                                                                                                         Exhibit D
                                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                           If this is a joint petition:
                                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                                   (Check any applicable box)
                                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                                   or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                                   court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                    (Check all applicable boxes)
                                                                                                                                   Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                                    (Address of landlord)
                                                                                                                                   Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                                   period after the filing of the petition.
                                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                      Case 10-96519-mgd                    Doc 1          Filed 12/06/10 Entered 12/06/10 14:25:41                                              Desc Main
                                                                                                          B1 (Official Form 1) (4/10)                                     Document     Page 3 of 11                                                                                       Page 3
                                                                                                          Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                 Charles Terrance Matthews & Roberta Lynn Matthews
                                                                                                                                                                                         Signatures
                                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                                            is true and correct.
                                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States
                                                                                                            I request relief in accordance with the chapter of title 11, United States                      Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                            Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                            title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                                            X /s/ Charles Terrance Matthews
                                                                                                                Signature of Debtor                                                                X
                                                                                                                                                                                                       (Signature of Foreign Representative)
                                                                                                            X /s/ Roberta Lynn Matthews
                                                                                                               Signature of Joint Debtor

                                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                                Telephone Number (If not represented by attorney)
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                                                                                                                 December 3, 2010
                                                                                                                                                                                                         (Date)
                                                                                                                 Date

                                                                                                                                 Signature of Attorney*
                                                                                                           X      /s/ C. Wingate Mims                                                                       Signature of Non-Attorney Petition Preparer
                                                                                                                Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                                  as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                               C. WINGATE MIMS 510000                                                             and have provided the debtor with a copy of this document and the notices
                                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                  and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                                  3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                               Jeffrey Field                                                                      setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                               342 North Clarendon Ave.                                                           document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                               Scottdale, GA 30079
                                                                                                                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                               404-499-2700 contactus@fieldlawoffice.com
                                                                                                               Telephone Number                                  e-mail
                                                                                                                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                               December 3, 2010                                                                   state the Social Security number of the officer, principal, responsible person or
                                                                                                              Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                                           information in the schedules is incorrect.                                              Address

                                                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                                             is true and correct, and that I have been authorized to file this petition on       X
                                                                                                             behalf of the debtor.

                                                                                                             The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                     person, or partner whose Social Security number is provided above.
                                                                                                           X
                                                                                                               Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                     not an individual:
                                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                     conforming to the appropriate official form for each person.
                                                                                                                Title of Authorized Individual
                                                                                                                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                               Date
                                                                                                                                                                                                     imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                              Case 10-96519-mgd                    Doc 1   Filed 12/06/10 Entered 12/06/10 14:25:41   Desc Main
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                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT


                                                                                                                  Charles Terrance Matthews & Roberta
                                                                                                                  Lynn Matthews
                                                                                                          In re______________________________________                              Case No._____________
                                                                                                                       Debtor(s)                                                         (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                              Case 10-96519-mgd                   Doc 1    Filed 12/06/10 Entered 12/06/10 14:25:41      Desc Main
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                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                       Signature of Debtor:              /s/ Charles Terrance Matthews
                                                                                                                                                                        CHARLES TERRANCE MATTHEWS

                                                                                                                                                                    December 3, 2010
                                                                                                                                                           Date: _________________
                                                                                                              Case 10-96519-mgd                    Doc 1   Filed 12/06/10 Entered 12/06/10 14:25:41   Desc Main
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                                                                                                                                              UNITED STATES BANKRUPTCY COURT


                                                                                                                  Charles Terrance Matthews & Roberta
                                                                                                                  Lynn Matthews
                                                                                                          In re______________________________________                              Case No._____________
                                                                                                                       Debtor(s)                                                         (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                              Case 10-96519-mgd                   Doc 1    Filed 12/06/10 Entered 12/06/10 14:25:41   Desc Main
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                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                    Signature of Joint Debtor:           /s/ Roberta Lynn Matthews
                                                                                                                                                                        ROBERTA LYNN MATTHEWS

                                                                                                                                                                    December 3, 2010
                                                                                                                                                           Date: _________________
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           Absolute Collection Service
           421 Fayetteville St., Suite 600
           Raleigh, NC 27601


           Ally Financial
           P.O. Box 380901
           Bloomington, MN 55438



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           P.O. Box 380901
           Bloomington, MN 55438



           Chase/BP Private Label
           P.O. Box 15298
           Wilmington, DE 19850-5298


           Chevron/GE Money Bank
           Bankruptcy Dept.
           P.O. Box 103104
           Roswell, GA 30076



           FHA/HUD
           Five Points Plaza
           40 Marietta Street
           Atlanta, GA 30303-2806


           Georgia Dept. of Revenue
           State of Georgia
           P.O. Box 161108
           Atlanta, GA 30321


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           State of Georgia
           P.O. Box 161108
           Atlanta, GA 30321


           Gwinnett Cty. Tax Commissioner
           P.O. Box 372
           Lawrenceville, GA 30046
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           IBM Southeast Emp. FCU
           790 Park of Commerce Blvd.
           Boca Raton, FL 33487


           Internal Revenue Service
           P.O. Box 21126
           Philadelphia, PA 19114


           Internal Revenue Svc./Insolvency Unit
           401 West Peachtree St., NW
           Room 400, Stop 334-D
           Atlanta, GA 30308


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           Room 400, Stop 334-D
           Atlanta, GA 30308


           Macy's/DSNB
           9111 Duke Blvd.
           Mason, OH 45040
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           Medical Data Systems, Inc.
           1374 S. Babcock St.
           Melbourne, FL 32901


           Office of Chief Counsel
           401 West Peachtree St., NE
           Room 1400, Stop 1400
           Atlanta, GA 30308


           Pendergast & Jones, P.C.
           Attorneys at Law
           115 Perimeter Ctr. Pl., Suite 1000
           South Terraces, Atlanta, GA 30346



           Santander Consumer USA
           Bankruptcy Dept.
           P.O. Box 560284
           Dallas, TX 75356-0284


           Spooner & Associates
           3451 Lawrenceville-Suwanne Rd.
           Suite C
           Suwanee, GA 30024


           Thurbert Baker
           Attorney General of Georgia
           132 State Judicial Bldg.
           Atlanta, GA 30334


           U.S. Atty. Gen./IRS/Dept. of Justice
           Tax Div./P.O. Box 14198, Ben Frank.,
           St., Civil Trial Sec., S. Region
           Washington, DC 20044


           U.S. Atty./North. Dist. of GA
           401 W. P'tree St., NW
           Suite 1400, Stop 1000-D
           Atlanta, GA 30308
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           United States Attorney
           Middle District of Georgia
           P.O. Box 1702
           Macon, GA 31202


           United States Atty./IRS
           Northern Dist. of GA
           600 United States Courthouse
           75 Spring St., SW
           Atlanta, GA 30303


           Vericrest Financial, Inc.
           715 Metropolitan Avenue
           Oklahoma City, OK 73108


           Vericrest Financial, Inc.
           P.O. Box 24610
           Oklahoma City, OK 73108


           Vericrest Financial, Inc.
           P.O. Box 24610
           Oklahoma City, OK 73108


           Veterans Administration
           1700 Clairmont Road
           Decatur, GA 30033-4032


           West Asset Management
           2703 N. Hwy. 75
           Sherman, TX 75090


           Woodlands at Chateau Elan
           Owners Association
           2555 Westside Pkwy., Suite 600
           Alpharetta, GA 30004
